          Case 20-02165-CMB         DocPROCEEDING
                                        7 Filed 12/02/20
                                                     MEMOEntered 12/02/20 16:49:59              Desc Main
                                          Document     Page 1 of 1
Date: 12/02/2020 03:00 pm

In re: The Ingros Family LLC

                                                             Bankruptcy No. 20-22606-CMB
                                                             Chapter: 11 (Not Small Business)

                                                             Adversary No. 20-2165 CMB
                                                             Doc. No. 1

  Enterprise Bank, Plaintiff v. The Ingros Family,
  LLC and Ryan D. Sharbonno, Defendants

Appearances: Thomas Reilly, Ryan Cooney, Bill Stang, Joseph Fidler, Salene Kraemer

Nature of Proceeding: #1 Status Conference on Notice of Removal

Additional Pleadings:

Judge's Notes:
  -Reilly: Not just a priority issue. Issue of whether the absence of the correct name defeats the lien. Filed
  equivalent of 12(b)(6) and think a briefing schedule would be appropriate. Can write a brief in 20 days.
  -Stang: Request 20 days to file a reply brief.
  - Cooney: Debtor is a defendant but the crux of the fight is between Enterprise and Sharbonno. Debtor
  believes value of property covers all secured creditors. Preference is to refinance but may have to pivot
  to a sale.
  - Debtor needs to file answer.The parties' proposed consent order(filed in Adv. No 20-2184) that would
  consolidate the 2 adversary proceedings provides for Debtor to file a responsive pleading in what would
  be the operative docket (Adv No 20-2165) within 14 days.
  OUTCOME:
  - Entry of the proposed consent order consolidating the adversaries taken under advisement.
  -Scheduling Order to be issued setting briefing deadlines on Preliminary Objections/12(b)(6) filed by
  Sharbonno.



                                                            Carlota M. Böhm
              FILED                                         Chief Bankruptcy Judge
              12/2/20 4:40 pm
              CLERK
              U.S. BANKRUPTCY
              COURT - WDPA
